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       1                     UNITED STATES DISTRICT COURT

       2                     SOUTHERN DISTRICT OF FLORIDA

       3                       CASE NO: 9:19-cv-81160-RS

       4   ------------------------------------------------------------

       5   APPLE INC.,                             )
                                                   )
       6                          Plaintiff,       )
                                                   )
       7         vs.                               )
                                                   )
       8   CORELLIUM, LLC,                         )
                                                   )
       9                          Defendant.       )

     10    ------------------------------------------------------------

     11                              DEPOSITION OF

     12                                JASON SHIRK

     13                           CONFIDENTIAL PORTION

     14                           ATTORNEYS' EYES ONLY

     15

     16                              March 23, 2020

     17                                 10:15 a.m.

     18

     19                      1200 Sixth Avenue, Suite 610

     20                           Seattle, Washington

     21

     22

     23

     24

     25    REPORTED BY:    Allison O'Brien, CCR No. 2163
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      1    JASON SHIRK; March 23, 2020; No. 899275

      2                               CERTIFICATE

      3    STATE OF WASHINGTON )
                               )       ss.
      4    COUNTY OF KING      )

      5          I, Allison C. O'Brien, the undersigned Washington

      6    Certified Court Reporter, pursuant to RCW 5.28.010

      7    authorized to administer oaths and affirmations in and for

      8    the State of Washington, do hereby certify:

      9          That the foregoing deposition was taken before me at

     10    the time and place therein set forth; that the witness was

     11    by me first duly sworn to testify the truth, the whole truth

     12    and nothing but the truth; that the testimony of the witness

     13    and all objections made at the time of the examination were

     14    recorded stenographically by me and thereafter transcribed

     15    under my direction; that a review of the transcript by the

     16    deponent was requested; and that the foregoing transcript is

     17    a true record of the testimony given by the witness and of

     18    all objections made at the time of the examination, to the

     19    best of my ability.

     20          I further certify that I am not a relative or employee

     21    or attorney or counsel of any of the parties, nor am I

     22    financially interested in the outcome of the case.

     23               Signed and sealed March 31, 2020.

     24               _________________________________________________
                      Allison C. O'Brien
     25               Reporting License No. 2163
